Case 20-62473-pmb    Doc 12   Filed 03/05/20 Entered 03/05/20 18:15:00      Desc Main
                              Document     Page 1 of 4



                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

   IN RE:                         :               CHAPTER 7
                                  :
   ASCENSION AIR MANAGEMENT, INC, :               CASE NO. 20-62473-PMB
                                  :
        Debtor.                   :
                                  :


                     NOTICE OF LACK OF INSURANCE OR
                    INADEQUATE INSURANCE COVERAGE

          NOTICE IS HEREBY GIVEN by S. Gregory Hays, the Chapter 7
   Trustee (the “Trustee”) of the bankruptcy estate (the “Estate”) of the above-
   named Debtor (the “Debtor”), that the following property in which the Debtor has
   a full or partial interest (the “Property”) may not be insured, may not be
   sufficiently insured or may not be covered by enforceable hazard or liability
   insurance for the benefit of the Debtor, the secured creditors, or the Estate:

         Eclipse Aviation EA500 aircraft with tail No. N826EX

          The Trustee and the Estate lacks sufficient funds to pay insurance
   premiums. Any secured party or party in interest that has an interest in the
   Property should be on notice to purchase and obtain appropriate insurance to
   protect their interest in the Property.

         Submitted this 5th day of March, 2020.


                                                      /s
                                                  S. Gregory Hays
                                                  Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, NW, Ste 555
   Atlanta, GA 30305
   (404) 926-0060
Case 20-62473-pmb     Doc 12   Filed 03/05/20 Entered 03/05/20 18:15:00     Desc Main
                               Document     Page 2 of 4



                            CERTIFICATE OF SERVICE

         I, S. Gregory Hays, certify that I am over the age of 18 and that on March
   5, 2020, I served a copy of the foregoing NOTICE OF LACK OF INSURANCE
   OR INADEQUATE INSURANCE COVERAGE by first class U.S. Mail, with
   adequate postage prepaid on the following persons or entities at the addresses
   stated on the attached Exhibit “A.”




         This 5th day of March, 2020.

                                                    /s
                                                 S. Gregory Hays
                                                 Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, NW, Ste 555
   Atlanta, Georgia 30305
   (404) 926-0060
Case 20-62473-pmb   Doc 12   Filed 03/05/20 Entered 03/05/20 18:15:00   Desc Main
                             Document     Page 3 of 4



                                Exhibit “A”
           Case 20-62473-pmb     Doc 12   Filed 03/05/20 Entered 03/05/20 18:15:00     Desc Main
                                          Document     Page 4 of 4
Darrell Mays                        Traylor & Associates, LLC          Universal Weather and Aviation, Inc.
 c/o John Monahon Esq;              100 Gulf Shore Drive - Unit 309    1150 Gemini Street
Ste 500                             East Pass Towers                   Houston, TX 77058
400 Colony Sq. 1202 Peachtree       Destin, FL 32541
Atlanta, GA 30361-6302
Aero Specialty                      HT Eclipse, LLC                    DeKalb-Peachtree Airport
18216 Edison Avenue                 197 14th Street NW                 2000 Airport Road
Chesterfield, MO 63005-3704         Suite 250                          Administration Bldg. Room 212
                                    Atlanta, GA 30318                  Atlanta, GA 30341


Jamail Larkins                      Ascension Air Management, Inc      Region Capital
2447 Field Way NE                   2447 Field Way NE                  323 Sunny Isles Blvd Suite 501
Atlanta, GA 30319-4094              Atlanta, GA 30319-4094             North Miami Beach, FL 33160-4675



CLBD Real Estate Holdings, LLC      Office of the US Trustee           John Probst
3460 Moye Trail                     362 Richard Russell Building       371 Clear Spring Ct
Duluth, GA 30097                    75 Ted Turner Drive, SW            Marietta, GA 30068-3410
                                    Atlanta, GA 30303-3315


Triple T Holdings, Inc.             Sutlive Aviation, LLC              Multi Service
3901 The Battery                    4594 Winters Chapel Road           8600 West 100th St
Duluth, GA 30096                    Atlanta, GA 30360                  Overland Park, KS 66210



Universal Fuel, Inc.                CT Corporation System              Executive Visions, Inc.
8787 Tallyho Rd                     As Representative                  c/o John M. (Jack) McGovern
Houston, TX 77061                   330 N Brand Blvd, STE 700          McGovern Law Firm
                                    Attn: SPRS                         7000 Miller Court East
                                    Glendale, CA 91203                 Norcross, GA 30071
IRS                                 Ellis R. Lesemann                  United States Attorney
Cincinnati, OH 45999-0038           Lesemann & Associates LLC          Northern District of Georgia
                                    418 King Street, Ste 301           75 Ted Turner Drive SW
                                    Charleston, SC 29403               Suite 600
                                                                       Atlanta, GA 30303-3309
Michael D. Robl                     Jonathan A Akins                   Graham K. Brantley
Robl Law Group LLC                  Schreeder, Wheeler & Flint, LLP    Andersen, Tate & Carr, P.C.
Suite 250                           Suite 800                          One Sugarloaf Centre
3754 LaVista Road                   1100 Peachtree Street NE           1960 Satellite Blvd, Ste 4000
Tucker, GA 30084-5623               Atlanta, GA 30309-4516             Duluth, GA 30097
Alan Armstrong, Esq                 Brian Hall
2900 Chamblee Tucker Rd             Smith, Gambrell & Russell
Bldg. 5-350                         Promenade, Suite 3100
Atlanta, GA 30341                   1230 Peachtree St. N.E
                                    Atlanta, GA 30309
